
PER CURIAM.
It appears from the record in this court that petitioners filed appeal and petition for certiorari to review the same order, the parties being uncertain as to which was the correct precedure, and the issues in the appeal were identical with those in the appeal by certiorari.
It further appears from said records that we accepted jurisdiction of said cause on appeal, adjudicated the questions raised and that our opinion in Foremost Dairies, a corporation, et al., v. Odham, et al., is contained in 121 So.2d 636.
It, therefore, appears that in a case like this appeal is the proper procedure to bring an order of the Florida Milk Commission to this court for review, the said appeal having been brought from the circuit court. In this case the appeal by certiorari still stands of record, the issues have long since been decided and the parties to the cause have importuned the court by letter which we treat as a praecipe or motion to dismiss and dispose of the cause.
It is accordingly Ordered, Adjudged and Decreed that the motion to dismiss the appeal by certiorari in Foremost Dairies, a *720corporation, et al., v. Odham et al., now pending in this court, be, and the same is, hereby granted.
THOMAS, C. J., and TERRELL, HOBSON, ROBERTS and THORNAL, JJ-, concur.
